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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION
                            CIVIL ACTION NO. 3:19-CV-00116-BJB

  KEMARI AVERETT                                                                       PLAINTIFF

  VS.

  SHIRLEY ANN HARDY, et al.                                                        DEFENDANTS

                                              ORDER

         Former Defendant University of Louisville has filed a Motion to Quash Subpoena/Motion

  for Protective Order relating to Plaintiff Kemari Averett’s attempts to obtain student disciplinary

  files. (DN 105). Averett has responded in opposition. (DN 110). University of Louisville has

  replied. (DN 113). Fully briefed, this motion has been referred to the undersigned pursuant to 28

  U.S.C. § 636(b)(1)(A). (DN 80).

                                            I. Background

         This action arises from a sexual encounter between two University of Louisville students,

  Kemari Averett and Destinee Coleman, in August of 2018, and the related investigation and

  disciplinary action taken against Averett by the University of Louisville. (DN 5). In March of

  2020, the Court dismissed Averett’s claims against the University of Louisville, the University of

  Louisville Board of Trustees, Detective William Brown, Dean Angela Taylor and Dean Michael

  Mardis. (DN 55). Averett’s only remaining claims in the case include a procedural due process

  claim against Student Conduct Officer Shirley Ann Hardy and defamation and intentional

  infliction of emotional distress claims against Destinee Coleman.

         On April 15, 2021, Averett propounded a subpoena on Mary Elizabeth Miles, the Director

  of Employee Relations and Compliance and Deputy Title IX Coordinator, commanding production

  of copies of “job descriptions of Dr. Michael Mardis, Dr. Angela Taylor, [sic] Mr. Brian Bigelow
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  from August 2018 to March of 2019, and the Title IX and Student Conduct files on which Bigelow

  was involved during his affiliation with U of L” by April 22, 2021. (DN 105-1). Former Defendant

  the University of Louisville (“University”) responded by providing the requested job descriptions

  but objecting to production of the student files. (DN 105-2). Shortly thereafter, Averett reissued a

  nearly identical subpoena to Miles, directing compliance by June 7, 2021.1 (DN 150-3).

          The University now has filed a Motion to Quash Subpoena/Motion for Protective Order

  related to production of the student conduct files that Bigelow was involved in during his tenure

  at the University. (DN 105).

                                                    II. Standard

          Federal Rule of Civil Procedure 45(d) governs motions to quash subpoenas. The Rule

  requires that on timely motion, the Court must quash a subpoena that subjects a person to undue

  burden or that requires disclosure of privileged or other protected matter. Fed. R. Civ. P.

  45(d)(3)(A)(iii)-(iv). Applying Rule 45 requires the court to balance several competing factors: (1)

  relevance; (2) need; (3) confidentiality; and (4) harm. Brown v. Tax Ease Lien Serv., LLC, No.

  3:15-CV-208-CRS, 2017 WL 6940735, at *3 (W.D. Ky. Aug. 21, 2017) (citing Anderson v. Old

  Nat’l Bancorp, No. 5:02-CV-00324-R, 2010 WL 5463397, at *2 (W.D.Ky. Dec. 29, 2010) (add’l

  citation omitted)). District courts within the Sixth Circuit have held that the scope of discovery

  under subpoenas is identical to the scope of discovery under Rule 26. See In re ClassicStar Mare

  Lease Litigation, Nos. 5:07-CV-353-JMH, 5:06-CV-243-JMH, 2017 WL 27455, at *2 (E.D. Ky.

  Jan. 3, 2017) (quoting Hendricks v. Total Quality Logistics, LLC, 275 F.R.D. 251, 253 (S.D. Ohio

  2011)). This means the Court considers whether requests pursuant to subpoenas are overbroad or

  irrelevant under the same standards outlined in Rule 26.


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   The reissued subpoena attached as Exhibit 3 is undated. (DN 105-3). The University claims it received the
  subpoena on June 4, 2021, only three days before compliance was required. (DN 105, at p. 2).

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         Status as a non-party is highly relevant to the undue burden analysis. Blount v. Stanley

  Engineering Fastening, No. 5:19-CV-00109-BJB-LLK, 2021 WL 932033, at *3 (W.D. Ky. Mar.

  11, 2021). When information is requested from a non-party, the court must be “particularly

  sensitive to weighing the probative value of the information sought against the burden of

  production on the non-party.” Id. (quoting Med. Ctr. at Elizabeth Place, LLC v. Premier Health

  Partners, 294 F.R.D. 87, 92 (S.D. Ohio 2013)).

                                             III. Analysis

         The University provides two reasons for quashing Averett’s subpoena requesting

  production of student conduct files that Bigelow was involved in during his tenure. First, the

  University contends the information is not relevant and producing such files would constitute an

  undue burden. Second, the University asserts that the requested information is protected under the

  Family Educational Rights and Privacy Act (FERPA).

                                    A. Relevancy and Undue Burden

         The University maintains that files from other student disciplinary hearings are not relevant

  to the issue of whether Officer Hardy, the lone remaining University-affiliated defendant, failed to

  provide Averett with adequate notice of the charges against him and the opportunity to be heard.

  Complying with this request, the University asserts, constitutes undue burden because there is no

  readily ascertainable way to determine which student disciplinary matters Bigelow was involved

  in during his tenure. The University argues that the burden imposed in being required to review

  three years’ worth of student conduct files outweighs the marginal relevance that any of these files

  could have to Averett’s claims.

         Averett explains that this request for files involving Bigelow arose from Hardy’s deposition

  testimony that Bigelow made decisions relating to due process and that Bigelow, as the Chief Title



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  IX Officer for the University, reviewed every Title IX case that came into the Dean’s Office. (DN

  110, at p. 2). Averett also references Ms. Hardy’s testimony that Bigelow made decisions about

  what evidence was presented to Averett’s hearing panel and that Bigelow reduced Averett’s

  statement that was submitted to the hearing panel. (Id. at pp. 2-3). Averett names several other

  students who were allegedly accused of Title IX/Code of Conduct violations that were not required

  to appear for student conduct hearings. Bigelow’s “knowledge and critically important information

  about the Title IX and Code of Student Conduct hearings,” according to Averett, compels

  production of these files.

         The Court agrees with the University; the requested files are not relevant to this action.

  Neither the University nor Bigelow are defendants in this case. Averett’s only remaining

  procedural due process claim is against Hardy. The fact that some of Hardy’s testimony indicated

  that Bigelow may have made decisions relating to due process in Averett’s case does not require

  the broad production of all other student conduct files that Bigelow was involved in as the Chief

  Title IX Officer at the University. Bigelow’s action or inaction in disciplinary proceedings for

  other students, even the three students Averett names, does not affect the key issue of whether

  Averett was provided with adequate notice and opportunity to be heard in his own case. Moreover,

  it would be unduly burdensome for the University to search through all Title IX and non-Title IX

  student conduct files from the three years Bigelow worked as the Chief Title IX Officer to find

  mentions of Bigelow’s name.

                                        B. Privacy Concerns

         The University also argues Averett’s subpoena should be quashed because it seeks private

  information about student disciplinary issues involving a wide range of conduct and outcomes for

  students that have no connection to this litigation. (DN 105, at pp. 5-6). The University explains



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  that under FERPA, an educational institution may only disclose information in response to a

  subpoena if it makes a reasonable effort to notified the parent or student of the subpoena before

  complying so the parent or student may seek protective action. Having to contact all students

  subject to disciplinary proceedings over a period of three years, the University emphasizes,

  imposes another undue burden on its ability to comply. (Id. at p. 6). Averett claims the University’s

  privacy argument is a red herring because it can redact all information that would potentially

  violate these students’ privacy rights.

         The FERPA protects educational records from improper disclosure. Doe v. Woodford Cnty.

  Bd. of Educ., 213 F.3d 921, 926 (6th Cir. 2000). This includes personally identifiable information

  of students and their parents. United States v. Miami Univ., 294 F.3d 797, 806 (6th Cir. 2002). The

  Sixth Circuit has held that “Congress intend[ed] to include student disciplinary records within the

  meaning of ‘education records’ as defined by the FERPA.” Id. at 812. Although FERPA does not,

  by its express terms, “prevent discovery of relevant school records under the Federal Rules of Civil

  Procedure,” Richardson v. Bd. of Educ. Of Huber Heights City Schools, No. 312cv00342, 2014

  WL 8619228, at *2 (S.D. Ohio Mar. 11, 2014) (citation omitted), a party seeking disclosure of

  student records carries a high burden of proving that “a genuine need for the information outweighs

  the privacy interests of the students[,]” Jackson v. Willoughby Eastlake Sch. Dist., No.

  1:16CV3100, 2018 WL 1468666, at *3 (N.D. Ohio Mar. 23, 2018).

         As discussed above, Averett has not met the high burden of relevancy required for

  discovery of an unknown number of unrelated student disciplinary files. Perhaps in certain

  circumstances, redaction can cure privacy concerns. Here, however, Averett seeks unlimited

  production of all student disciplinary files that Bigelow was involved in for his three-year tenure.

  This request is not tailored to Averett’s remaining allegations in the lawsuit. The privacy interests



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  of these third-party students outweighs any potentially relevant information that could be

  uncovered from disclosure of these files.

                                              IV. ORDER

         For the foregoing reasons, the Court GRANTS the University’s Motion to Quash Averett’s

  Subpoena (DN 105) insofar as the University is not required to produce the Title IX and Student

  Conduct files on which Bigelow was involved during his affiliation with the University.




  Copies:        Counsel of Record
                                                              October 26, 2021




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